                UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                  Case No.: 1:19-cv-1179-CCE-JLW

CENTER FOR BIOLOGICAL
DIVERSITY and SIERRA CLUB,
                                                UNIVERSITY OF NORTH
                    Plaintiffs,
                                             CAROLINA AT CHAPEL HILL’S
vs.                                             MOTION FOR SUMMARY
                                             JUDGMENT AND REQUEST FOR
UNIVERSITY OF NORTH                                  HEARING
CAROLINA AT CHAPEL HILL,

                    Defendant.

      The University of North Carolina at Chapel Hill (“UNC”) hereby moves the

Court for summary judgment with respect to each of the claims in Plaintiffs’ Second

Amended Complaint pursuant to Federal Rule of Civil Procedure 56 on the grounds

that discovery is complete and there is no genuine issue of material fact. Plaintiffs

bring all of their claims pursuant to the Federal Clean Air Act, 42 U.S.C. §7401, et

seq. (the “Act”). The material facts show, as a matter of law, that Plaintiffs lack

standing to bring any of the claims in the Second Amended Complaint. Further,

even if Plaintiffs did not lack standing, Plaintiffs could not establish, as a matter of

law, that UNC is liable for any of the claims in Plaintiffs’ Second Amended

Complaint.

      In support of this Motion, UNC shows the Court its Memorandum of Law in

Support of Motion for Summary Judgment, which UNC is filing herewith. The




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Memorandum of Law includes as Exhibits certain discovery materials from this

Action, the declaration of Lewis Kellogg, and declaration of Steve Hall, Chief of the

Technical Services Section of the Division of Air Quality of the North Carolina

Department of Natural Resources.

      Further, pursuant to L.R. 7.3(c), UNC requests that Court conduct a hearing

to allow oral argument upon this motion, and any dispositive motion filed by

Plaintiff. Given the complexity of the Clean Air Act issues involved in this Action,

including the issue of standing, UNC believes such a hearing will allow for a full

consideration of claims and advance the interests of justice.

      For the reasons stated above and in the Memorandum of Law, UNC requests

the Court enter judgment dismissing Plaintiffs’ claims with prejudice, tax the costs

of this Action against Plaintiffs, and award UNC such other relief as is just and

proper.




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This the 14th day of April, 2021.

                                /s/ Peter J. McGrath, Jr.
                                Peter J. McGrath, Jr.
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                                The University of North Carolina at Chapel
                                Hill




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                          CERTIFICATE OF SERVICE

      I hereby certify that on this 14th day of April, 2021, I electronically filed the

foregoing with the Clerk of Court using the CM/ECF system which will send notices

of such filings to registered users.

                                       /s/ Peter J. McGrath, Jr.
                                       Peter J. McGrath, Jr.




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